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UNETED STATES DiSTRICT COURT
EASTERN DiSTRlCT OF NIICH|GAN

MAR|ANNA D. GUZALL,
Case No. 2:13-cv-11327

Hon. Linda V= Parker
. Piaintif'f,

vs. 4
C|TY OF RO|\/iULUS,
ALAN R. LAi\/IBERT,
in his officia!`anc| unofficial Capacity,
BETSEY KRAN|P|TZ,
in her officiai and unofficial capacity,
Joint|y and Severai|y,

Defendants.

PLA|NT|FF’ S EMERGENCY MOTION TO CONIPEL AND TO EXTEND~
DlSCOVERY FOR PLA|NT!FF ONLY AND FOR SANCTIONS AS
DEFENDANT’ S HAVE PURPOSEFULLY DISREGARDED THiS
COURT’S ORDERS TO FURTHER DELAY TH|S LAWSU!T

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NOVV COMES P|aintiff, Marianna Guzai|, by and through her

attorney, Leonard i\/iungo, and for her i\/|otion states as foilows:

“| o

On February 19, 2015, Piaintiff noticed the Deposition of A|an
Lambert. (Exhibit 1, Notice of Deposition).

Several requests have been made since February 19, 2015 to obtain
the deposition of iVir= Lambert.

iVlr. Lambert’s attorney then filed a motion to stay proceedings to
prevent the deposition of Alan i_ambert based upon a claimed
investigation and him asserting the StH Amendment.

On June 19, 2015, Plaintiff responded to Defendant Lambert’s
motion and.stated that |Vlr. Lambert would have to answer fact
questions related to the termination of P|aintiff’s employment

On Ju|y 27, 2015 this Court denied Defendant i_arnbert’s_motion to
stay proceedings based upon his 5”‘ amendment ciairn. (Exhibit 2)11
On June 30, 2015, Nir. Burcroff’s deposition was continued, yet
Defense C_ounse| prevented the deposition from moving forward
Piaintiff Was therefore forced`to file for relief from this Court so that
Lambertis deposition could-be taken and |\/|rw Burcroff’s deposition

could be finished so Plaintiff could proceed forward with her case.

 

 

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10.

11.

12.

`l'his Court then entered an order extending discovery and ordered
that Defendant Lambert’s deposition would take place prior to
Piaintiff’s deposition (Exhibit 3).

Plaintiff’s Counsel appeared on October 30, 2015 in Defendant
l_ambert’s attorney’s office to take his deposition

Defendant Lambert refused to answer any-fact questions regarding
employmentl and'stated that he would answer all questions the
same, in that he was asserting the 5th amendment and would not
answer any questions

P|-aintiff’s Counsel instructed all attorneys that Defendant Larnbert
was violating the orders ofithis court by not allowing Defendant
Lambert to answer fact questions reiated to the employment issues
in this case, andasked that this Court`s orders be followed Defense
Counselors stood in unison and-stated that Defendant l_arnbert would
not answer any questions.

Plaintiff’s Counsel then instructed all attorneys that he_would be

forced to file a motion immediately for relief as the Court’s orders

were being violated by Defendants. Defense Counsel still did not

alter their course, forcing the filing of this motion

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13. This Court stated in it’s order that discovery would _n_ot be extended
further. (Exhibit 3).

14. Defendant’s filed a motion on October 29, 2015 to extend discovery,
in complete contradiction to this Court’s order.

15. Plaintiff has been left with no option but to file her instant l\/lotion as
Defense Counsel is refusing to abide by the Court's orders and
refusing to allow lVlr. l_-ambert to answer any questions at his
deposition and discovery currently ends on November 9, 2015. ,
VVHEREFORE, P|aintiff requests this Honorable Court grant-her

l\flotion to Compel and Order that |V|r. Lambert be produced for his

deposition in the courthouse if need be, so that he will answer those fact
questions regarding the termination of P|aintiff’s employment along with
the other allegations within P|aintiff’s Com-plaint and/or default Defendant

Lambert in this case. Plaintiff further requests this_court extend discovery

for Plaintiff only to allow for the additional depositions of at least 5

witnesses, and award her costs and attorney fees for having to file this

|Vlotion and to appear at the deposition where Defendant Lambert would

not answer any questions, and P|aintiff also requests all other relief the

Court deems proper in her favor,

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l PLAINT|FF MARIANNA GUZALL’S BRIEF ‘lN SUPPORT OF HER
MOT|ON

F’|aintiff has filed with this Court previously in Response to Defendant
Lambert’s l\/iotion based upon his 5th Amendment claims that the law holds,
“Certainly a person who seeks, on fifth amendment grounds, to avoid
sanctions othenivise imposab|e for disobeying a court's order to give

' evidence must show how the requested discovery will be-
incriminati.ng.” Bank One of Clei/eland, N.A. v. Abbe, 916 F.2d 1067,
1076 (Gth Cir. 19901, emphasis added.

Defendant Lambert has not shown that answering questions as to his
involvement`in terminating Plaintiff’s employment .wil| be incriminating
Whether or not Alan Lambert had discussions with his staff about Plaintiff’s
termination are not incriminating Testimony by Defendant Lambert as to
Plaintiff’s work in Romulus is not incriminating

This Court reviewed the arguments above by Plaintiff and ordered
that Defendant Lambert’s lVlotion to Stay Proceedings based upon his .
claim of the 5th amendment was denied. (Exhibit 2).1 |n addition Plaintiff
has scheduled the depositions of Mr, Turner, l\/lr. Ladach and l\/ls. Conway

for November 5, 2015 and Defense Counsel stated TODAY at Defendat_

Lambert’s deposition that they would not be producing those employees

5

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because Defense Counsel did not know if they were going to be involved in '
litigation against the City of Romulus. Defense Counsel’s knowledge as to
whether or not a witness will be suing the City of Romuius is _
inconsequential to the witnesses being produced

Plaintiff would like to move her case fonrvard. The gamesmanship
and obstructionist behavior by Defense Counsel has obtained levels that
Plaintiff’s Counsel has never seen before in 25 plus years as an attorney

Defendants filed .a motion to extend discovery on October 29, 2015
after 5 pm. Defendants have failed _to abide by this Court’s 2 prior orders
by refusing to allow Defendant Lambert answer questions at_his deposition t
(Exhibi_ts 2 and 3). Plaintiff’s Counsel attended the deposition of Alan
Lambert on October 30, 2015, that never occurred because he refused to
answer any questions P|aintiff now has to pay for a deposition transcript
riddled with attorney banter, again, and with NO answers to any questions
by Defendant Lambertl

Defense Counsel have also stated that they will not now produce
those witnesses (l_adach, Tu'rner and Conway) on November 5, 2015 who
have been scheduled by Plaintiff for their depositionsl and are now

demanding that P|aintiff be deposed contrary to this Court’s order, prior to

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the deposition of Defendant Lambert (Exhibit 3).

Pursuant to FRCP 37, the court may compel the discovery requested
andralso impose sanctions for Defendants failure to abide by the c_ourt’s
prior orders by refusing to producing witnesses for their depositions prior to
the close of discovery See also more specifically, FRCP 37 (b) and l'-'RCP

37 (d). l_n addition:i
“Section 1927 of Title 28 provides:

Any attorney or other person admitted to conduct cases in any
court of the U.nited States or any Territory thereof who so _
multiplies the proceedings in any case unreasonably and
vexatiously may be required by the court to satisfy personally
the excess costs, expenses, and attorneys' fees reasonably
incurred because of such conduct
28 U.S.C. § 1927. litigation conduct is reviewed “for
‘unreasonable and vexatious' multiplication of litigation.despite
the absence of any conscious impropriety.” Jones, 789 Fi2d at
1230. Absent a showing of bad faith, sanctions may be.
imposed “at least when an attorney knows or reasonably
should know that a claim pursued is frivolous, or that his or
her litigation tactics will needlessly obstruct the litigation
of nonfrivolous claims.” Ridder, 109 F.,3d at 298, quoting
Jones, 789 F.2d at 12301 “[T]he mere finding that an attorney

` failed to undertake a reasonable inquiry into the basis for a
claim does not automatically imply that the proceedings were
intentionally or unreasonably multiplied.” Rfdder, 109 F.3d at
298. “An attorney is liable under § 1927 solely for excessive
costs resulting from the violative conduct.” Id. at 299. Simple -
inadvertence or negligence that frustrates the trial judge will not
support a sanction under § 1927. fn re Ruben, 825 F.2d at 984.
“There must be some conduct on the part of the subject
attorney that trial judges, applying the collective wisdom of their

7

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experience on the bench, could agree falls short of the

obligations owed by a member of the bar to the court and

which, as a result, causes additional expense to the

opposing party.” ld.” Rfddle v Egensperger, 288 F3d 542, 553

(CA 8 2001 ), emphasis added. _

Defense Counsel’s refusal to allow Defendant Lambert to answer fact
questions regarding his and Plaintiff’s employmentl or any questions at all,
was in clear violation of the Federal Rules of Civil Procedure and this
Court’s orders,- and has caused additional expense and delay to Plainti.ff
and P|aintiff’s Counsel The'attached affidavit of Virgini_a Williams
illustrates that Plaintiff’s case will move to trial. (Exhibit 4). Plaintiff would
like to move her case forward, however Defendants have at every_turn

obstructed the discovery process in this case, and therefore--Pl`aintiff

requests the relief requested in her l\/lotion as stated herein

Respectfully submitted,

/s/Leonard l\/lungo _
Leonard l\/lungo (P43582)

Attorney for Plaintiff

333 West Fort Street Suite 1500
Detroit, l\/ll"48228

(313) 983-0200
munqol18@msn.com

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CERT|FICATE OF SERVICE

l hereby certify that on November 2, 2015, l electronically filed the
foregoing paper with the Clerk of the Court using the ECF system which
will send electronic notification of such filing to the attorneys of record and l
hereby certify that there are no manual recipients on the Notice List_

/s/Leonard l\/lungo
Leonard l\/lungo (P43582)

Attorney for P_laintiff-

333 West Fort Street Suite 1500
Det'roit, lVll 48228 '
(313) 983-0200-
munqol18@msn.com

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|NDEX' OF EXHlB|TS
1. Notice of Deposition for Defendant Lambert
2. Order of this Court dated July 27, 2015
3. Order of this Court dated September 9, 2015

4. Affidavit of Virginia Williams

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EXHIBIT l

 

Case 4:13-cv-11327-L\/P-unnesslmrssersmistt@%timpa@@'D-1185 PaQ@ 12 Oi 24
' _EA_sTEnN olsrnicr oi= ritter-treats - ' '

lVlARlAf\ll\lA D. GUZALL,
Case l\lo. 2513-cv-11327

l-lon. l_inda V. Parker
Plaintiff,
vs.

Cl'l'Y OF ROMULUS,
ALAN R. LAMBERT, 1
in his official and unofficial capacity,
BETSEY KRAMPITZ, _
in her official and unofficial capacityr l
Jointly and Severally,

Defendants.

/,
NOTECE FOR DEPOSETEON OF ALAN R. LAMBERT

PLEASE TAKE NOTlCE that Plaintiff, Marianna Guzal|, by and through her
attorney, Leonard li/lungo, shall take the deposition of Alan R._l_ambert; pursuant to-the_ .
applicable Fe'deral Court Rules. The deposition will take place on Thursday April 18, 1
2015, beginning at 9:30` a.m., at thel offices of, J_ohn Giilooly,' 1000 Woodbridge Street,
Detroit ll/ll, 48207 and will continue until completed before a Notary Public or other

person authorized to administer oaths.

      

Detroit, lVl l 48226
- .(313)`963-0200

mungol18@msn.com

PROOF OF SERV!CE

 

- The undersigned certifies that a copy of the foregoing instrument was served upon the attorneys of record of all parties to the above
cause at their respective business addresses as disclosed by the pleadings of record herein on February 19, 20t5. l declare under
penalty of perjury that the statement above is true to the best of my informationl knowledge and beiief.

ourt Regis.tered Electro.nic tviail

y `//

 

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EXHIBIT 2

case 4:13-cv-11327-LvP-DRG Eci= No. 32 filed 11/02/15 Pageio.lls? Page 14 of 24
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UNITED sTATES DISTRI`CT COURT
EASTERN DISTRICT or MICHIGAN
soUTHERN DrvtsloN

U`NITED STATES OF AMERICA
- ex rel MARIANNE D. GUZALL and
MARIANNE D. GUZALL a/k/a

MARIANNA GUZALL,
Civil Case No. 13»11327

Plaintiff, Honorable Linda V`. Parker

V.

CITY OF ROMULUS, ALAN R. LAMBERT,
and BETSEY KRAMPITZ,

Defendants.
` /

 

OPINION AND ORDER DENYING MOTION TO STAY PROCEEDINGS -
AS T() DEFENDANT ALAN R. LAMBERT

On March 26,' 2013, Marianne D. _Guzall (“l\/Irs. Guzall”) filed this lawsuit
against Defendants as a qui tam action alleging violations of the False Claims Act,

_- and as an individual action alleging violations of her rights under federal and state
llaW.l Defendants are the City of Rornulus (the “City” or “Romulus”), the City’s
former Mayor Alan R. Lambert (“Mayor Lambert”), and the City’s former Chief of
Stat`f Betsey Krampitz (“Ms. Krarnpitz”)__. Asrelevant to the pending motion, Mrs.
Guaall alleges that her employment With the Citywas terminated on l\/larch ll,

2011, due in Whole or in part to her speech on matters of public concern-~

 

l The United States of Arnerica has declined to intervene in the action. (See ECF
No. 8.,) '

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specifically Mayor Lambert’s and Ms. Krampitz’s alleged abuse of their positions
and/or power and misuse of funds (See, Am. Complo 1i1l-26, 27.) Presently before
the Court is a motion ton stay the proceedings as to Mayor Lambert, only, filed June
18, 2015, Mrs. Guzall filed a response to the motion on June l9, 2015.

in his motion, Mayor Lambert seeks to stay “any and-all proceedings against
him in this matter until the-conclusion of any underlying criminal proceedings.”
(ECF Noi 59 atfl 6) Mayor Lambert does not claim that there in fact are pending
criminal proceedings or indictments issued against him. Instead, he claims that
“[o]n information, this matter [criminal activities involving Mayor Lambert]
continues to be investigated by law_enforcement agencies v`vho may recommend
formal charges against [him].” (Id. at ‘ll 3, emphasis added.) Mayor Lambert has
informed his counsel that-he seeks to invoke his right against self-incrimination as
guaranteed by the United States Constitution and Michigan Constitution. ([d. il 4.) `

A court has the broad discretion to stay a civil proceeding When there is a
pending or impending parallel criminal action See Chao v. Flemr`rzg, 498 F. Supp=
2d 1034, 1037 (W.D. Mich. 2007) (citing Laridis v. Noth Am. Co., 299 U,S. 248,

_ 254-55, 57 S. Ct. 163, 166 fl936)). Failure to stay a civil proceeding Where there

is a pending parallel criminal action targeting one of the parties to the civil action

could undermine the party’s Fifth Arnendment privilege against self-incrimination

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fn re Par' Pharm., lnc. Sec. Litl`g., 133 F.R.D. 12, 13 (S.D,N.Y.. 1990). Several
factors are relevant to a court’s decision Whether to grant a stay, including: _

1) the extent to Which the issues in the criminal case overlap With

those presented in the civil case; 2) the status of the case, including

Whether the defendants have been indicted; 3) the private interests of

the plaintiffs in proceeding expeditiously Weighed against the _

prejudice to plaintiffs caused by the _delay; 4) the private interests of

and burden on the defendants; 5) the interests of the courts; and 6) the

public interest7 .
Fleming, 498 F. Supp. 2d at 1037 (citing Trusrees ofth Plumbers & Prpe]?tters
Nar’l Pensfon Furzd v. Transworld Mech., Inc., 886 F. Supp° 1134, 1139 (S.D.N.Y.
1995)`)w

"‘In general, courts recognize that the case for a stay is strongest Where the
defendant has already been indi.cted.” Id. (ci_ting cases). _Pre-_indictment requests
for a stay usually are denied “b,ecause the risk of self-incrimination is reduced at
the pre-indictment stage, and because of the uncertainty surrounding When, if ever,
indictments Will be issued, as Well as the effect of the delay on the civil trial_.”
Stdre Farm Mut. Auto. ]ns_ Co. v. Beckham-Easley, No., Civ. A. 01-5530, 2002 WL
31111766, at *2 (E.D. Pa. Sept. 189 2002) (unpublished opinion) (citing Walsh
Sec., ]nc. v. Crr`sto Prop. Mgmt. Ltd., 7 F. Supp. 2d. 523, 527 (DiN.J. 1998) (citing
Um'red States v. Pr'z`vate Sanitarion Indus. Ass’n, 811 F. Supp, 802, 805 (E.D.N.Yn

1992)).. Some courts have expressed that where a defendant filing a motion to stay

has not been indicted, the motion may be denied on that ground alone. Id; (citing

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-Prz`vate Sam'tarion Indus. Ass ’n., 811 F. Supp. at 805-06; SEC v. Dresser ]ndus.,
Inc., 628 F,Zd 1368, 1376 (D.C. Cir.l980)). HoWever, other courts have expressed
that “a stay should not be categorically denied solely because the defendant has not
yet been indicated.” Flemz`ng, 498 F. Supp. 2d at 1038 (citing Walsh Sec., Inc., 7
F., Supp. 2d at 527) (“It is ‘still possiblej to obtain a stay, even though an
indictment or information has not yet been returned, if the Government is
conducting an active parallel criminal investigation.”)) ' _

R_egardless of Which line of cases this Court Would be inclined to follovv, in
addition to a lack of evidence of any criminallproceeding or an indictment issued
against him, Mayor Lambert offers no proof of an actual criminal investigation into
his conduct Instead, his assertion is carefully Worded to state that only “on '
information” is a criminal investigation ongoing The lack of evidence of al
criminal proceeding, much less an investigation, is particularly significant Where
the misconduct Mrs. Guzall claims to have spoken about, Which allegedly led to.
her termination, occurred more than four years ago. As time passes, it seems less '
and less likely that any criminal proceedings Will ensue concerning the conduct at
issue in this case.

Absent evidence of a pending investigation, the Court cannot determine, for
example, Who is being investigated or the conduct for Which they are being

investigated As such, the Court has no Way of assessing Whether there is_ any

 

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overlap between the civil and criminal proceedings “If there is no overlap, then
there Would be no danger of self-incrimination and no need for a stay.” Fleming,
498 F. Supp. 2d at 1039 (internal quotation marks and citation omitted). The
district court in Fleming therefore found the extent of the overlap to be “'the most
important factor” in the court’s analysis ofvvhether a stay is appropriatew Id. The
other factors relevant to deciding Whether a stay is appropriate also cannot be
realistically evaluated Without this information

In short, Without evidence that there in fact is-a parallel criminal

` investigation or proceeding, this Court cannot find justification for a stay of these

civil proceedings

A`ccordingly,

IT IS OR])-ERED, that the Motion to Stay Proceedings as to Defendant

Alan R. Lambert is DENIED.

s/ Linda V. Parker
LINDA V. PARKER
U.S. DISTRICT JUDGE

Dat_ed: July 27, 2015

1 hereby certify that a copy of the foregoing document Was mailed to counsel of
record and/or pro se parties on this date, July 27, 2015, by electronic and/or U.S.
First Class mail.

s/ Richard Lourv
Case Manager

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ExHrBiT 3

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_ UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA
ex rel MARIANNE GUZALL, and
MARIANNE GUZALL, individually,

Plaintiff, Civil Action No. 13-11327
Honorable Linda V., Parker
Magistrate Judge David R. Grand

V.

CITY OF ROMULUS, ALAN LAMBERT
and BETSY KRAMPITZ,

Defendants.
/

oRDER GRANTING IN PART AND DENYING IN PART
DEFENDANT CITY oF RoMULUs’ MoTIoN To' CoMPEL 1681

Before the Court is Defendant City of Romulus’ (“City”) Motion to Compel l(Doc. #68),
which was referred to this Court for hearing and determination pursuant to 28 U.S.C.
§636(b)(1)(A) (Doc. #69). _On September 8, 2015, this Court held an informal telephonic
conference with the parties’ counsel, during which it-was agreed as follows:

¢ Before the close of business on September 11l 2015, Plaintiff will provide her
cell phone, containing the original audio recording referenced in the City’s motion
to compel, to a court reporter for verbatim transcription lt is anticipated that such
transcription will be completed and provided to Defendants on or before
September 18, 2015.

¢ The parties will conduct the following depositions, in the following order: (l)
Plaintiff’s continued deposition of Mayor Burcroff, for no more than thirty (30)
minutes, and regarding only the audio recording referenced above; (2) Plaintiff’s
deposition of Mayor Lambert,' (3 and 4) Defendants’ depositions of Plaintiff and
Plaintit`t’ s husband, Raymond Guzall (in whatever order Defendants choose); and
(5) the three remaining City employee depositions Plaintiff"s attorney indicated a
desire to take.' Counsel for the parties are directed to work cooperativelyin the
Scheduling and taking of these depositions to ensure that they are completed as
quickly and efficiently as_possible. l

As discussed on the tele hone call, and after further consideration of timin issues the
!

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Court will extend the discovery cutoff for a period of forty-five (45) davs, to November 9,
M. The Court finds that such an extension will allow ample time for the parties to complete
the depositions set forth above, as well as any other necessary discovery, particularly if the
parties" attorneys work diligently and cooperatively. The remaining dates set forth in the District
Court’s March 27. 2015 Scheduling Order (Doc. #52) will not be extended, as the Court believes
that the parties will have adequate time to prepare any dispositive motions (if necessary) between
the new discovery cutoff (November 9, 2015) and the existing dispositive motion cutoff
(December 16, 2015). No further extensions of dates in this case will be granted

For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART the
City’s motion to compel (Doc. #68), as set forth above. The discovery cutoff in this case is now
_Nov_ember 92 2015; however, all remaining dates set forth in the District Court’s March 27, 2015

Scheduling Order (Doc. #52) remain in full force and'effect..

 

IT rs so oRDE-RED.
Dated: September 9, 2015 s/David R. Grand
Ann Arbor, Michigan DAVlD R. GRAND

United States Magistrate Judge

N(}TICE TO THE PARTIES REGARDING OBJECTIONS

The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a period of
fourteen (14) days from the date of receipt of a copy of this order within which to file objections
for consideration by the district judge under 28 U.S. C. §636(b)(l).

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CERTIFICATE OF SERVICE r-

The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on September 9, 2015 .

SiEadi~i-,v o. sues
EDDREY _O. BUTTS
Case Manager

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"EXHIBIT 4

L`

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AFFiDAVlT OF ViRGlNiA WlLLlANlS

l Virginia Williams, make the following statements and general affidavit upon oath and
affirmation of belief and personal knowledge that the following matters facts and things set forth
are true and correct to the best of my knowledge:

1. l am over the age of 18 and lam a resident of the City of Romulus and the State
of Michigan. l have personal knowledge of the facts herein and lf called as a
witness at trial, will testify competently to the facts he reln.

2. l had several conversations with Betsey l<rampltz regarding the employment of
Marlanne Guzall. Shortly before ' Marianne Guzall's employment was
terminated in Romu|us, Betsey Krampltz told me that Mayor Lambert told her
that Marianne Guzal| talks too much and that she had to be let go, and that

- Leroy Burcroff was complaining to Mayor Lambert about Marlanne Guzal|
complaining to Bur-croff about things going on 'ln the Mayor‘s offlce. From
What l have seen and heard from Betsey Krampltz who was the Romulus Chlef
of Staff at that time and from Alan Lambert who was the Mayor of Romulus at
that tlme, Marlanne Guzall was wrongfully fired/laid off. Alan Lambert told me
prior to the mlllage increase vote in Romu`|us that Marl'anna Guzall was going to
be let go because she talks too much, so l know when Mayor Lambert and the
Clty of Romulus later claimed that they had to lay off Marlanna Guzall because
of the mll|age not passing that was a false statement and not the real reason
they terminated her employment Alan Lambert told me that |Vlarlanna Guzall
was complaining about things that were going on in the l\/layors office and was
making those complaints to Leroy Burcroff, and Lambert said those things that
lVlarlanne was saying were not true. l told him Marianna ls loyal and his best
employee and that she should not be fired He told me she had to go. l had all
of those conversations with Mayor Lambert at the Rornulus Athletlc Club, and
because l disagreed Wlth him about Nlarlanne being fired he had Rlchard
Sulter physlcally pull me away from him at one point when l was standing next
to him and talking to him while he was on the tread mlll. l filed a pollce report
for assault and battery against Rlchard Suiter-, who was an employee at that
time at the Rornul_us athletic center.

3. l have been told by |Vlayor Lambert to keep my mouth shut about things l
knew as to him and because l did not keep my mouth shut and l talked about

` those illegal actlons of Mayor Alan Lambert, my husbands truck was burned l

 

 

landon
Notary P:bli:c§rate of Michigan am fearful of telling the truth because I have been retaliated against by Alan
County of Macomb Lambert` m the p for telling the truth and speaking out about the truth, but 1
My Commisslon Explres til/2020 d . l a
Acdng in the county Of: . will tell the trut in c urt, as l a e told the truth m th1s affrdavp:_
lv thing v v a
Virgi williams

Subscribe`d and sworn to before me
this day of' 5 2015.

NotaryPlelic il lUZlE)Eil§COunti/Nl| 7 __:`: :”_.:~:' - ' ..'_ _ _
Mycommlssion explres: / Ci / q _ :: - __ l _
ll°lll ctv%lf) - _' ~'V` .'

